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    l    MELINDA HAA.G (csBN 132612)              ko        -'
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    2 UnitedsutesAttonwy                  '                                         //e.-
         MIM NDA KANE (CSBN 150630)                                           h/z
    3    ActingChief,CriminalDivision                                          mp # l
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    4    BARBARA BRENNAN SLANO (MASSBK 55540)                         J?ro y n o
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         AssistantUnitedSàtesAtlorney                                    -Y/WD</k
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    6         San Franclsc0,Califom ia 94102                                                -*7AO&a,,
              Telp hone:(415)436-7223                                                                 -'
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    7         Facslmilel(415)436-7234
              E-mail:barbara.silano@ usdoj.gov                                $      j.               -a
    : AttomeysforPlaintiff                                                    t$.ty
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    9
    1Q                               UNITED STATES DISTRICT COURT
    11                            NORTHERN DISTRICT OF CALIFORNIA
    12                                   SAN FRANCISCO DIVISION
    13
    14 UNITED STATESOFAMERICA,                   )       No.CR 3-11-70150MEJ
    15 Plii    ndff,                             )
                                                 )          RDRRRBGARDINGPRE-TRIAL
    16 v.
    17 NOE CONTRER AS
                                                 ) DETBNTI
                                                         ON
l           a/?àxçl>r
                    irï
                      tif
                        ltl'
                           .                     ?            '
    18 Defendant.
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                                                 y.                                                                         '
    20           On February 23,2011adetention hearing washeld beforethisCourtpursuantto 18
    2l U.S.C.j3142.TheCourthasconsideredthemotionforpre-trialdetentionfiledbytheUnited
    22 States,tbePre-lriatServicesReport,andtbeargumentsand proffersofbotb sides. Fortbe
    23 reasonsoutlinedherein,theCourtORDERS thedefendantdeoined.
    24           THedefendantappeared beforetheCourton an indictm entAlleging in CountOne a
    25 conspiracyto possesswith intentto distributeand distributeacontrolltd substance,to wit:500
    26 gramsormoreofam ixtureorsubstancecontaining a detectble amountofmethamphetam ine
    2.3 and 5: gzam sorm oreofm olhampbehmineand alleging in CountFom ac,
                                                                        onspiracy topossess
    28 withintenttodistributeanddistributel00kilog'
                                                  amsofmoremarijuatza.Becallsebotbcounts



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.                         Case3.
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'
,           1    are offensesforwhich tllemaxim um tenu ofimprisonmentisten yearsormore,pursuantto 18
'
            2    U.S.C.93142(e)(3),theytriggera.rebuttablepresumptionthattherearenoconditionsor
1
;           3    combination ofconditionswillreasonably assureth: appearr ceofthedefendantasrequired and
f           4    thesafetyofthecornmunil,TheCourtnoyesthatagrandjurykasfoundprobablecauseto
y
'
:           5    believe thedefendantcomm itttd the.offensesoutlined in theindictment. According to the
'
)           6 profferprovidedbytllegovernment, tlle defendantisalleged to haveprovided hundrd sof               j
                                                                                                                !
i                                                                                                               j
.           7    poundsofqualitymarijuanaandmethamphetaminetoco-deftndantsinNevadainatleastthvo                 i
'                                                                                                               !
?           8    shipments.Accordingto governmentestimates,themari
                                                                 juanaseizeddulingthecourseofthe
:           9    investigation had a value ofoveron:m illion dollarsand tl!em etham phetaminew
                                                                                             'asvaluedat        '
'           10 approxim ately one-halfam illion dollars.Theexcem tsofwiretapped conversationsproffered by
            11 tl!e governmentrevealthe defendant'ssubsyantialpm icipation. M oreover,accordingto
            12 inform ation supplied by thegovernm entthrough proffer,atthe tim e ofhis arrest,thedefendant
?
            13 adm itted hisinvolvementwith the drug trafscking organization.'I'
                                                                               heCourtalsonotesthattlle
'           14 governm enthasproffercd thatwhen aco-defendantwasarrestedaagents recovered atext
            15 messagein histelephone from thedefendanton January29,2011. In the textmessage,the
'           16 defendantordered 3 Glock handgunsand oneM ac 11weapon and said thatthem oney wasready.
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?           18      TheCourtisaware thatthedefendanthasnotdemonstrattd ahistory ofevading court
f
'           19 responsibilitiesand hasno crimina.
                                                lrecord.Nevertheless,hewa'
                                                                         sbom in M exico,and hastiesin
            20 M exico. Onedefendantin thiscasewasalready rdeased and hasfled to M txico. Thedefendant,
            21 ifconvicte ,willlikelybedeported.He hl
                                                    u nofinancialresourcesand hasbeen unemployed for
            22 thelastyear.Hebasapartialownerslûp interestin &llomtthatiswoitbmuclllessthanwbatlw
            23 paid. ThePre-TrialServicesreportindicatesthatnopaym entshavebeen m adeon them ortgage
            24 since2009. W hile mem bersofthe defendant'sfnmily did appearin Court,no proposed stzret.y
            25 offered any assets,The defendanthasnevtrm arried and hasno children to tie him tothis
            26 com munity.
 ''         27      The CourtEndsthatnothingprovided by thedefendanthRsrebuc dthepresum ption tbathe
            28 islyoth aflightrisk .nd adanger.The profferbythegovernmentissubstantialand tlwre is
    r                                                       2




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:.   evidencetbatthedefendantsought,butdid notobtain,frearm s. Thecontrolled substancesand
2    tllevalueofthem injectedintothecommunityisalsoadangerandthecourtfmdsthereisclear
3    and convincing evidencethatthedefendantposesa dangerto the community ifreleased. n e
4    Courtalso Gndsby apreponderance ofevidence thatthedefendantposesa risk offlightif
5    released, The Courtincorporatesinto itsreasonsand findingsa copy ofthe pre-trialservices
6    report. TheCourtGndsthatdefendant'sopportunityto m eetwith hiscounselwasreasonable. In
7    theeventofan appealofthisOrder,thePre-TrialServlcesreportshallbe sealed and made pal'tof
8    thisrecord.Forthereasonssetforth herein,the                       etained.
9    Dated:M arch l,2011
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10                                                     UNWED STATESMAGISTRATETUDGE
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